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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA
                                            :     NO.: CR-2-09-054(1)
     v.                                           JUDGE FROST

VANCE WALLS


                          MOTION AUTHORIZING
                 DISCLOSURE OF GRAND JURY INFORMATION
                 AND FOR AN ORDER LIMITING DISCLOSURE

     In preparation for the sentencing hearing scheduled for July

1, 2010, the government has several grand jury transcripts and/or

memoranda of interview for witnesses, whom we intend to call to

testify at the sentencing hearing.               The government intends to

provide those to David Winters, counsel for defendant Vance Walls,

at noon on June 30, 2010, the day prior to the sentencing hearing.

     Each of these witnesses have provided this information as part

of a criminal investigation in connection with the grand jury

process.    Many have provided information not only related to this

case, but other investigations as well.            All share a concern for

their personal safety once they are identified as cooperating

witnesses.     The government has an obligation to protect their

identities and exposure to the public as much as possible.

     While    the    government    does    not   oppose   disclosure    of   the

information    contained     in   these    witnesses      statements    to   the

defendant, the government also requests that copies of these

statements not be made and provided to the defendant.                      These

witnesses come from a relatively small community.              The government


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wants to avoid copies of their statements being circulated through

the community.      Similarly, should the defendant be incarcerated,

the government wants to limit the possibility that these statements

would be circulated to other inmates in prison.

     The United States, therefore, requests this Court enter an

Order authorizing the United States to disclose, prior to the

sentencing    hearing,    grand    jury    testimony   and/or    memoranda    of

interview for said witnesses to defense counsel for Vance Walls.

The government requests that the this Order limit such disclosure

to defense counsel and the defendant.               The government further

requests that defense counsel and the defendant be prohibited from

disclosing any of this information to third parties, except to the

extent necessary to interview and prep witnesses for the sentencing

hearing.



                                            Respectfully submitted,
                                            CARTER M. STEWART
                                            United States Attorney


                                            s/Robyn Jones Hahnert
                                            ROBYN JONES HAHNERT (0022733)
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                                            s/Kevin W. Kelley
                                            KEVIN W. KELLEY (0042406)
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                          CERTIFICATE OF SERVICE
     I hereby certify that a copy of the foregoing motion for a

protective    order    was   served    this    18th   day    of   June,    2010,

electronically on: David Winters, counsel for Vance Walls.




                                           s/Robyn Jones Hahnert
                                           ROBYN JONES HAHNERT (0022733)
                                           Assistant United States Attorney




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